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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


In re:                                                                  Chapter 11

MATTRESS FIRM, INC., et al.1                                            Case No. 18-12241 (CSS)

                            Debtor.                                     Jointly Administered



                VERIFIED STATEMENT OF PEPPER HAMILTON LLP
          PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 2019

                  Pepper Hamilton LLP (“Pepper”), as counsel to the parties designated herein, in

the chapter 11 cases (these “Cases”) of the above captioned debtors (the “Debtors”), hereby

submits this verified statement (this “Verified Statement”) pursuant to Rule 2019 of the Federal

Rules of Bankruptcy Procedure, and states as follows:

                  1.        Pepper currently represents the following entities (the “Clients”) and

creditors and/or parties-in-interest with respect to these Cases:

                            Thrifty Payless, Inc. (“Thrifty Payless”)
                            30 Hunter Lane
                            Camp Hill, PA 17011

                            Essex Portfolio, L.P. (“Essex”)
                            1100 Park Place, Suite 200
                            San Mateo, CA 94403

                            TRPF Marlton Square PAD LLC (“TRPF”)
                            730 Third Avenue
                            New York, NY 10017
                            c/o TH Real Estate Americas, Global Real Estate




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  The last four digits of Mattress Firm, Inc.’s federal tax identification number are 6008. The Debtors’ mailing
address is 10201 S. Main Street, Houston, Texas 77025. Due to the large number of Debtors in these chapter 11
cases, which are being jointly administered, a complete list of the Debtors and the last four digits of their federal tax
identification numbers is not provided herein. This information may be obtained on the website of the Debtors’
noticing and claims agent at http://dm.epiq11.com/MattressFirm or by contacting counsel for the Debtors.


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               2.      The claims of the Clients against the Debtors in these Cases include, but

are not limited to, claims arising from certain unexpired leases under which Thrifty Payless,

Essex, or TRPF is a landlord and one or more of the Debtors is a tenet. In addition, one or more

of the Clients may hereafter also assert further claims against one or more of the Debtors.

               3.      Each of the Clients has requested that Pepper represent them in these

Cases. Pepper has no representation agreements with the Clients, other than standard

engagement agreements.

               4.      Upon information and belief, as of the date hereof, Pepper does not hold

any claims against or any interest in the Debtors.

               5.      Neither this Verified Statement, nor any previous or subsequent

appearance, pleading, claim or suit, is intended to waive: (i) any Client’s right to have final

orders in non-core matters entered only after de novo review by a district judge; (ii) any Client’s

right to trial by jury in any proceeding so triable herein or in any case, controversy or proceeding

related hereto; (iii) any Client’s right to have the reference withdrawn by a district court in any

matter subject to mandatory or discretional withdrawal; (iv) any Client’s right to object to the

subject-matter jurisdiction of the Court and shall not be deemed or construed as a submission of

any Client to the jurisdiction of the Court; and (v) any other rights, claims, actions, defenses,

setoffs, or recoupments to which any Client is or may be entitled in law or in equity, all of which

rights, claims, actions, defenses, setoffs, and recoupments are expressly reserved by each Client.




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               The undersigned counsel hereby certify that this Verified Statement is true and

accurate to the best of their knowledge, information, and belief. Pepper reserves the right to

revise and supplement this statement.

Dated: November 8, 2018                           PEPPER HAMILTON LLP
       Wilmington, Delaware
                                                  /s/ Kenneth A. Listwak
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                                                  Counsel for Thrifty Payless, Inc. and Essex
                                                  Portfolio, L.P.

                                                  PEPPER HAMILTON LLP

                                                  /s/ John H. Schanne, II
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                                                  Counsel for TRPF Marlton Square PAD LLC




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